
PER CURIAM.
Affirmed. See Carbajal v. State, 75 So. 3d 258 (Fla. 2011) ; State v. King, 426 So. 2d 12 (Fla. 1982) ; State v. Roby, 246 So. 2d 566 (Fla. 1971) ; Shortridge v. State, 884 So. 2d 321 (Fla. 2d DCA 2004) ; Desmond v. State, 576 So. 2d 743 (Fla. 2d DCA 1991) ; Budd v. State, 477 So. 2d 52 (Fla. 2d DCA 1985) ; Hillman v. State, 410 So. 2d 180 (Fla. 2d DCA 1982) ; McMillan v. State, 832 So. 2d 946 (Fla. 5th DCA 2002) ; Harris v. State, 789 So. 2d 1114 (Fla. 1st DCA 2001) ; Hart v. State, 761 So. 2d 334 (Fla. 4th DCA 1998) ; Freeny v. State, 621 So. 2d 505 (Fla. 5th DCA 1993).
KHOUZAM, MORRIS, and LUCAS, JJ., Concur.
